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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
        Plaintiff,                             )
                                               )
                            v.                 ) Civil Action No. 1:04-cv-00798-PLF-GMH
                                               )
                                               )
ALL ASSETS HELD AT BANK JULIUS                 )
BAER & COMPANY, LTD., GUERNSEY                 )
BRANCH, ACCOUNT NUMBER 121128,                 )
IN THE NAME OF PAVLO                           )
LAZARENKO, LAST VALUED AT                      )
APPROXIMATELY $2 MILLION IN                    )
UNITED STATES DOLLARS, ET AL.,                 )
                                               )
        Defendants.                            )


                       ORDER GRANTING CLAIMANTS’
        CONSENT MOTION FOR AN EXTENSION OF TIME TO FILE OBJECTIONS
       TO THE MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS

        Having considered the Claimant’s Motion and without objection by the Government, the

Court hereby GRANTS Claimant’s Consent Motion for an Extension of Time to File Objections

to the Magistrate Judge’s Findings and Recommendations, and extends the Claimant’s deadline to

October 17, 2019 and the government’s deadline to November 1, 2019.

        IT IS SO ORDERED.


This ____ day of _______________, 2019.




                                                  _______________________________
                                                  Hon. Judge Harvey




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